Case 4:07-cv-05944-JST Document 3476-1

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CHUNGHWA PICTURE TUBES (MALAYSIA)
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UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Relates To:

ViewSonic Corporation v. Chunghwa Picture
Tubes, Ltd., et al., No. 3:14-cv-02510-SC

Master File No. 3:07-CV-5944 SC
MDL No. 1917

DECLARATION OF AUSTIN V.
SCHWING IN SUPPORT OF
DEFENDANTS CHUNGHWA PICTURE
TUBES, LTD. AND CHUNGHWA
PICTURE TUBES (MALAYSIA) SDN.
BHD.’S REPLY IN SUPPORT OF
MOTION FOR PARTIAL SUMMARY
JUDGMENT FOR LACK OF STANDING
AS TO VIEWSONIC CORPORATION

Date: February 6, 2015
Time: 10:00 a.m.
Judge: Hon. Samuel Conti

SCHWING DECLARATION IN SUPPORT OF REPLY IN SUPPORT OF CPT AND CPTM’S MOTION FOR PARTIAL SUMMARY
JUDGMENT FOR LACK OF STANDING AS TO VIEWSONIC — MASTER CASE NO. 07-CV-5944 SC

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I, Austin V. Schwing, hereby declare as follows:

1. J am a partner in the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for
Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. in the above-
referenced action.

2. I submit this declaration in support of Defendants Chunghwa Picture Tubes, Ltd. and
Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.’s Reply in Support of Motion for Partial Summary
Judgment for Lack of Standing as to ViewSonic Corporation. Unless otherwise indicated, I have
personal knowledge of the foregoing and could and would testify to the same if called as a witness in
this matter.

3. Attached as Exhibit A is a true and correct copy of Taiwan Company Act, Art. 23
from the Laws and Regulations Database of The Republic of China website, available at
http://law.moj. gov.tw/eng/LawClass/LawSearchNo.aspx?PC=J0080001 &DF=&SNo=23 (last
accessed January 19, 2015).

I declare under penalty of perjury that the foregoing is true and correct. Executed this 23rd

day of January 2015, at San Francisco, California.

~Lysicke

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SCHWING DECLARATION IN SUPPORT OF REPLY IN SUPPORT OF CPT AND CPTM’S MOTION FOR PARTIAL SUMMARY
JUDGMENT FOR LACK OF STANDING AS TO VIEWSONIC — MASTER CASE NO. 07-CV-5944 SC

